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                              UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF LOUISIANA
                                     LAFAYETTE DIVISION

 MONTIESPIVEY CASE NO. 6:22-CV-00491

 VERSUS JUDGE ROBERT R. SUMMERHAYS

 CHITIMACHA TRIBE OF LOUISIANA ET MAGISTRATE JUDGE CAROL B.
 AL WfflTEHURST

                                         JUDGMENT

        This matter was referred to United States Magistrate Judge Carol B. Whitehurst for report


 and recommendation. After an independent review of the record, and after consideration of


 objections filed, this Court concludes that the Magistrate Judge's report and recommendation is


 correct and adopts the findings and conclusions therein as its own. Accordingly,


        IT IS ORDERED, ADJUDGED, AND DECREED that, consistent with the report and

 recommendation, Plaintiffs Motion to Remand (Rec. Doc. 12) is DENIED.


        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, consistent with the

 report and recommendation, for the same reasons set forth in 21-cv-02257, that Plaintiffs claims


 are DISMISSED WITH PREJUDICE.

        Signed at Lafayette, Louisiana, this ^t day of Ns\ ^\^ ,2022.




                                             ROBERT R. SUMMERHAYS
                                             UNITED STATES DISTRICT JlXGE
